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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

    UNITED STATES OF AMERICA
                                                  No. 18 CR 35
                v.

    JAMES VORLEY and                              Judge John J. Tharp, Jr.
    CEDRIC CHANU,

         Defendants.


OPPOSITION TO DEFENDANTS’ MOTION TO PRECLUDE RULE 1006 EXHIBITS

        The defendants’ motion correctly cites the standard for admitting summary exhibits,

but the defendants misapply that standard to the government’s proposed Exhibits 1, 74 and

75. 1 Because the government’s exhibits fit within the rule for summaries, the Court should

deny the motion. The Court also has separate grounds to deny the motion because it is

untimely. Although the deadline for producing summary exhibits was September 1, 2020, the

government produced all of the summary charts at issue on August 5, 2020, prior to the

Court’s August 7 deadline for motions in limine. See Ex. 1. The objective of this early

disclosure was to avoid exactly what is happening now: an eve-of-trial challenge to this

important evidence. With the government’s summaries in hand, the defendants filed their

other motions in limine on August 7. Their motions specifically sought to preclude the

government from using terms like “spoof,” “fraudulent,” or “manipulate” in its summary

exhibits, see Doc. No. 270 at 2, but did not raise the issues addressed in this filing. This is not

the first time the defense has filed an untimely motion to preclude evidence of which it had

long been aware, nor the first time the defense has taken a seriatim approach to evidentiary




1 These exhibits at issue are former GX 1, GX 32 and GX 33. The government herein has
referenced its exhibits by the JERS numbering system.
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issues. See Doc. Nos. 292 and 293 (seeking to preclude or limit use of audio recording disclosed

last year). Rather than preparing their case consistent with the schedule set by the Court

(and followed by the government), it appears the defendants either are filing new motions as

ideas occur to them or filing untimely motions for tactical reasons. 2 In any case, the fact that

it took the defendants a month to either spot or raise these issues speaks volumes about the

merits of their position.

       Rule 1006 permits the use of “a summary, chart, or calculation to prove the content of

voluminous writings, recordings, or photographs that cannot be conveniently examined in

court.” To be admissible, a summary exhibit must be accurate in what it is summarizing and

cannot “make arguments about the inferences the jury should draw from them.” United

States v. Gallardo, No. 13 CR 660, 2015 WL 832287, at *7 (N.D. Ill. Feb. 25, 2015).

       Defendants raise three complaints about the appearance of certain government

exhibits. The first relates to Government Exhibit 1, which summarizes and visually depicts

trade data for the 61 episodes the government disclosed for its case-in-chief. See Ex. A to

Defendants’ Motion. The episode number appears on the top right corner of each chart. On

these charts, the shaded light blue line represents the bid-offer spread, and the thin solid

blue line represents the mid-price. These move over time as prices go up and down. The

defendants’ iceberg orders are depicted in green and with parentheses around the order

quantity. Fully-displayed (i.e., visible) orders are in red. Circles represent order placements;

triangles show executions (upward triangles for sales, and downward triangles for




2The charts at issue are an important part of the government’s case and, in the absence of
an objection, the government used these charts to prepare for trial. Making adjustments at
this late hour would be massively burdensome.

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purchases); and an × means a cancelation. There are annotations at the top and bottom to

show which trader is on the buy and sell sides, as well as an initial before each order to show

who placed it. Where there are two or more orders of the same quantity and the same price

that are placed in quick succession, the charts indicate, e.g., V6x10 to mean that Vorley

placed 6 orders for 10-contracts each.

       The episode charts also use text boxes with neutral terms to summarize certain data

points. The government deliberately did not include any terms the defendants objected to in

their prior filings; there are no references to “fraudulent,” “spoof,” or “primary” orders in the

charts. Rather, the text accurately summarizes voluminous data that the jury otherwise

would have to sift through and calculate itself (e.g., “order to buy 100 contracts ($8,173,000)

/ Active for 1.116 seconds”), and identifies the number of contracts executed at various times

within each episode (e.g., “buys final 4 contracts while sell orders active”). The defendants do

not dispute the accuracy of these annotations, and it is not improper for the charts to

summarize some, but not all, of the underlying data (otherwise it would not be a summary),

or for different charts to reflect different data points. See United States v. Swanquist, 161

F.3d 1064 (7th Cir. 1998) (“A party is not obligated, however, to include within its charts or

summaries its opponent’s version of the facts”). Nor do the charts contain improper

conclusions, arguments, or inferences; if the defendants wish to highlight other aspects of the

data or suggest a contrary view, they are free to do so on cross-examination. See United States

v. Means, 695 F.2d 811, 817 (5th Cir. 1983) (permitting Rule 1006 summary exhibit even

though its captions and labels reflected government’s assumptions). 3 This precise sort of


3In Mears, the court found there was no prejudice because the defendants had the chance to
cross examine the witness who introduced the charts and because there was an instruction
to the jury that they were to make the ultimate decision about what weight to assign to the

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summary has previously been permitted even over a defendant’s content-based objections.

See United States v. Bentley, 825 F.2d 1104, 1108 (7th Cir. 1987) (defendant’s expectation to

offer evidence critiquing charts does not affect their admissibility). In fact, substantially

similar charts were admitted into evidence in the Flotron case over the defendant’s objection.

See Ex. 2 at 5-6. In that case, the district judge noted that the defendant (like Vorley and

Chanu) had not identified “any factual inaccuracy” in the government’s summary exhibits,

and found that in view of the:

       immense volume and complexity of the underlying trading data, a summary
       compilation of the transaction data may be important to the jury’s ability to
       understand the evidence and evaluation of the timing and details of trading
       activity. All summary evidence is inherently selective in terms of what data is
       included, and I do not agree with defendant’s argument that the Government’s
       decision to select certain series of transactions amounts to improper “cherry
       picking” that makes the summaries misleading or otherwise inadmissible.
       Defendant’s concerns go to weight and not admissibility.

Id. The same rationale applies here. Because the government’s charts accurately summarize

voluminous admissible evidence, they are proper exhibits under Rule 1006.

       Second, the defendants object to the fact that excerpts of e-communications are

overlaid onto the trade data summarized on certain charts. Given the different types of

evidence and different time zones, this overlay is likely to be helpful to the jury’s

understanding of the case. Again, the defendants do not challenge the accuracy of these

exhibits. The mere fact that the government has combined two kinds of admissible evidence

into a single summary exhibit does not render it argumentative or otherwise inadmissible. If

the defendants wish to suggest on cross-examination or otherwise that the excerpted chats




evidence. 695 F.2d at 817. The government notes that the draft jury instructions circulated
by the Court here already contain such an instruction, which the government does not oppose.

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were unconnected to the trade data, they remain free to do so at trial. But for the reasons

stated above, these exhibits also should be permitted.

       Third, the defendants object to Exhibits 74 and 75 as containing the government

expert’s conclusions (they still do not challenge the accuracy of the exhibit). But the fact that

an expert has prepared calculations that are reflected in the exhibit do not render them

impermissibly argumentative. In fact, this is precisely what Rule 1006 contemplates would

be admitted under the rule. See Fed. R. Evid. 1006 (summary exhibits can include

“calculation[s] to prove the content of voluminous writings”). While true, as the defendants

argue, that “each chart makes a point, and in each instance, it is the expert’s point,” because

they summarize accurate calculations drawn from admissible trade data, these are proper

summary exhibits.



                                        Respectfully submitted,

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Dated: September 5, 2020




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                               CERTIFICATE OF SERVICE

       I certify that by electronically filing a copy of the foregoing brief through the court’s
electronic docketing system on September 5, 2020, I caused the motion to be filed on the
defendants’ counsel of record, who are ECF Filing Users and are served electronically by the
Notice of Docket Activity.

                                            /s/ Avi Perry
                                            Avi Perry
                                            Assistant Chief, Fraud Section




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